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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ALASKA AT ANCHORAGE

THREE BEARS ALASKA, INC.

 

Plaintiff,
NOTICE OF REMOVAL
V.
VARILEASE FINANCE, INC.,
Defendant. Case No. _
TO: Judges of the United States Distriot Court

AND TO: Jennifer Coughlin & loan Travostino
420 L. Street, Suite 400
Anchorage, AK 99501
You are hereby notified pursuant to 28 U.S.C. § 1332, 28 U.S.C. § 1441 and 28

U.S.C. § 1446 as follows:
1. That the above-named Defendant, Varilease Finance, Inc., (“Varilease”)
incorporated in Michigan, has this day filed in the United States Dist:rict Court for the

District of Alaska at Anchorage this Notice of Removal to said District Court of the action

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Case No.

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brought by Three Bears Alaska, Inc. (“Three Bears”) in the Superior Court f`or the State of`
i Alaska Third Judicial District at Anchorage, Case No. 3AN-15-4670CI;

2. That Varilease has also filed Notice ofRemoval With the Clerk of` the Superior

5 Court f`or the State of` Alaska, Third Judicial District at Anchorage; and,

 

3. That said action has thereby been removed from the Superior Court for the
State of` Alaska, Third Judicial District at Anchorage to the United States District Court,
District of` Alaska at Anchorage.

Def`enda:nt submits the following grounds f`or removal:

l. Three Bears is the Plaintif`f` and Varilease is the Def`endant in a case filed on
January 27, 2015 in the Superior Court for the State of Alaska, Third Judicial District at
Anchorage, Case No. 3AN-15-4670CI. A copy 0f` the Cornplaint is contained in a copy of

the State Court record which Will be filed upon receipt from the Superior Court in

Anchorage.

2. Plaintif`f` Three Bears is an Alaskan corporation With its physical address in
Wasilla, Alaska.

3. Def`endant Varilease is a Michigan corporation With its physical address in
Salt Lake City, Utah.

4. Plaintif`f`s are seeking trebled damages of amounting to approximately $1.5

million, an amount Within the jurisdictional limits of` this Court.
5. The initial pleading setting f`orth the claim for relief` Was filed on January 27,

2015, and received by Varilease by mail thereafter.

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6. FeWer than 30 days have elapsed since the receipt by Def`endant of a copy of`
the initial pleading setting forth Plaintiffs’ claims for relief.

7. This Court has jurisdiction pursuant to 28 U.S.C. § 1332.

DATED; Febmary 25, 2015

GARVEY SCHUBERT BARER
Attorneys f`or Def`endant

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Julia M.I. Holden-Dav'

  

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CER'I`IFICATE OF SERVICE

The undersigned certifies that

on the 25th day of February,

2015, a true and correct copy

o the foregoing was served by
SPS, [:] Courier, C]E-mail,

_[:] Facsimile on the following:

Jennifer M. Coughlin
Joan M. Travostino
K&.L Gates, LLP

4 L Street, Suite 400 ,
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